 Fill in this information to identify the case:

 United States Bankruptcy Court for the:
                                     District of New Mexico


 Case number (if known):                                            Chapter        7                                                         ❑Check if this is an
                                                                                                                                                amended filing

Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                                               04/20
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case number (if known). For more
information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.



   1. Debtor's name                               1933 Brewing Company LLC, A New Mexico Limited Liability Company



   2. All other names debtor used
      in the last 8 years

      Include any assumed names,
      trade names, and doing
      business
      as names



   3. Debtor's federal Employer                   8      1 – 3     8       8   9   9   8   0
      Identification Number (EIN)



   4. Debtor's address                            Principal place of business                                      Mailing address, if different from principal place of
                                                                                                                   business

                                                   3755 Southern Blvd SE                                            5912 Rio Arriba Rd NE
                                                  Number            Street                                         Number         Street



                                                                                                                   P.O. Box
                                                   Rio Rancho, NM 87124
                                                  City                                     State   ZIP Code          Rio Rancho, NM 87144
                                                                                                                   City                                State     ZIP Code


                                                   Sandoval                                                        Location of principal assets, if different from principal
                                                  County                                                           place of business


                                                                                                                   Number         Street




                                                                                                                   City                                State     ZIP Code




   5. Debtor's website (URL)                      1933brewingco.com



   6. Type of debtor                              ✔
                                                  ❑      Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))

                                                  ❑      Partnership (excluding LLP)

                                                  ❑      Other. Specify:




Official Form 201 Case        20-11483-t7             Doc 1 Filed
                                                        Voluntary        07/24/20
                                                                  Petition                Entered
                                                                           for Non-Individuals          07/24/20
                                                                                               Filing for Bankruptcy 12:42:35 Page 1 of 44                                  page 1
Debtor      1933 Brewing Company LLC, A New Mexico Limited Liability Company                                        Case number (if known)
           Name
                                                A. Check one:
  7. Describe debtor's business
                                                ❑Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                ❑Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                ❑Railroad (as defined in 11 U.S.C. §101(44))
                                                ❑Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                ❑Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                ❑Clearing Bank (as defined in 11 U.S.C. §781(3))
                                                ✔ None of the above
                                                ❑
                                                B. Check all that apply:
                                                ❑    Tax-exempt entity (as described in 26 U.S.C. §501)

                                                ❑    Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. § 80a-3)

                                                ❑    Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))


                                                C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                                   http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                                    7     2   2    5

  8. Under which chapter of the                 Check one:
     Bankruptcy Code is the                     ✔
                                                ❑    Chapter 7
     debtor filing?

     A debtor who is a “small business
                                                ❑    Chapter 9
     debtor” must check the first subbox. A
     debtor as defined in § 1182(1) who
                                                ❑    Chapter 11. Check all that apply:
     elects to proceed under subchapter V of           ❑     The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     chapter 11 (whether or not the debtor is                noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than $2,725,625. If
     a “small business debtor”) must check                   this sub-box is selected, attach the most recent balance sheet, statement of operations, cash-flow
     the second sub-box                                      statement, and federal income tax return or if any of these documents do not exist, follow the procedure in
                                                             11 U.S.C. § 1116(1)(B).
                                                       ❑     The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated debts
                                                             (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to proceed
                                                             under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent balance sheet,
                                                             statement of operations, cash-flow statement, and federal income tax return, or if any of these documents
                                                             do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                       ❑     A plan is being filed with this petition.

                                                       ❑     Acceptances of the plan were solicited prepetition from one or more classes of creditors, in accordance
                                                             with 11 U.S.C. § 1126(b).
                                                       ❑     The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                             Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                             Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11 (Official
                                                             Form 201A) with this form.
                                                       ❑     The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.

                                                ❑    Chapter 12

  9. Were prior bankruptcy cases filed by       ✔ No
                                                ❑
     or against the debtor within the last 8
     years?
                                                ❑Yes. District                                           When                    Case number
                                                                                                                MM / DD / YYYY
     If more than 2 cases, attach a separate               District                                      When                     Case number
     list.                                                                                                       MM / DD / YYYY


 10. Are any bankruptcy cases pending or        ✔ No
                                                ❑
     being filed by a business partner or
     an affiliate of the debtor?                ❑Yes. Debtor                                                                     Relationship

                                                           District                                                               When
     List all cases. If more than 1, attach a
                                                                                                                                                MM / DD / YYYY
     separate list.
                                                           Case number, if known




Official Form 201 Case      20-11483-t7           Doc 1 Filed
                                                    Voluntary        07/24/20
                                                              Petition                Entered
                                                                       for Non-Individuals          07/24/20
                                                                                           Filing for Bankruptcy 12:42:35 Page 2 of 44                                      page 2
Debtor     1933 Brewing Company LLC, A New Mexico Limited Liability Company                                     Case number (if known)
          Name


 11. Why is the case filed in this     Check all that apply:
     district?
                                       ✔ Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                       ❑
                                          immediately preceding the date of this petition or for a longer part of such 180 days than in any other district.

                                       ❑A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.
 12. Does the debtor own or have       ✔ No
                                       ❑
     possession of any real property
     or personal property that needs
                                       ❑Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
     immediate attention?                         Why does the property need immediate attention? (Check all that apply.)
                                                  ❑   It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard?


                                                  ❑   It needs to be physically secured or protected from the weather.
                                                  ❑   It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for
                                                      example, livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                  ❑   Other
                                                  Where is the property?
                                                                            Number          Street




                                                                            City                                            State      ZIP Code
                                                 Is the property insured?
                                                  ❑No
                                                  ❑Yes.        Insurance agency
                                                               Contact name
                                                               Phone

         Statistical and administrative information

     13. Debtor’s estimation of        Check one:
         available funds?              ❑Funds will be available for distribution to unsecured creditors.
                                       ✔After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.
                                       ❑
     14. Estimated number of           ✔ 1-49 ❑ 50-99
                                       ❑                                    ❑ 1,000-5,000 ❑ 5,001-10,000                ❑ 25,001-50,000 ❑ 50,000-100,000
         creditors                     ❑ 100-199 ❑ 200-999                  ❑ 10,001-25,000                             ❑ More than 100,000

     15. Estimated assets               ✔
                                        ❑    $0-$50,000                        ❑     $1,000,001-$10 million                   ❑     $500,000,001-$1 billion
                                        ❑    $50,001-$100,000                  ❑     $10,000,001-$50 million                  ❑     $1,000,000,001-$10 billion
                                        ❑    $100,001-$500,000                 ❑     $50,000,001-$100 million                 ❑     $10,000,000,001-$50 billion
                                        ❑    $500,001-$1 million               ❑     $100,000,001-$500 million                ❑     More than $50 billion




Official Form 201 Case   20-11483-t7         Doc 1 Filed
                                               Voluntary        07/24/20
                                                         Petition                Entered
                                                                  for Non-Individuals          07/24/20
                                                                                      Filing for Bankruptcy 12:42:35 Page 3 of 44                                  page 3
Case 20-11483-t7   Doc 1   Filed 07/24/20   Entered 07/24/20 12:42:35 Page 4 of 44
 Fill in this information to identify the case:

                                1933 Brewing Company LLC, A New Mexico Limited Liability
 Debtor name                                          Company

 United States Bankruptcy Court for the:
                                                   District of New Mexico


 Case number (if known):                                                                         Chapter            7                                                                                 ❑Check if this is an
                                                                                                                                                                                                         amended filing

Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                                             12/15

 Part 1: Summary of Assets


 1. Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

    1a. Real Property:
            Copy line 88 from Schedule A/B........................................................................................................................................                                                 $0.00


    1b. Total personal property:
            Copy line 91A from Schedule A/B......................................................................................................................................                                             $22,246.33

    1c. Total of all property:
            Copy line 92 from Schedule A/B.........................................................................................................................................                                           $22,246.33




  Part 2: Summary of Liabilities




 2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
    Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D.................                                                                                                             $563,636.00



 3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

    3a. Total claim amounts of priority unsecured claims:
            Copy the total claims from Part 1 from line 5a of Schedule E/F....................................................................................                                                                $92,243.00


    3b. Total amount of claims of non-priority amount of unsecured claims:
            Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F......................................................                                                             +              $122,410.00




 4. Total liabilities..............................................................................................................................................................................                          $778,289.00

    Lines 2 + 3a + 3b




Official Form 206Sum      Case 20-11483-t7                                    Doc 1                 Filed 07/24/20
                                                                                                       Summary               Entered
                                                                                                               of Assets and Liabilities      07/24/20 12:42:35 Page 5 of 44
                                                                                                                                         for Non-Individuals                                                                       page 1
 Fill in this information to identify the case:

                       1933 Brewing Company LLC, A New Mexico Limited Liability
 Debtor name                                 Company

 United States Bankruptcy Court for the:
                                     District of New Mexico


 Case number (if known):                                                                                                                  ❑Check if this is an
                                                                                                                                             amended filing

Official Form 206A/B
Schedule A/B: Assets — Real and Personal Property                                                                                                                     12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest. Include all property in which
the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties which have no book value, such as fully depreciated
assets or assets that were not capitalized. In Schedule A/B, list any executory contracts or unexpired leases. Also list them on Schedule G: Executory Contracts and
Unexpired Leases (Official Form 206G).
Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write the debtor’s name and
case number (if known). Also identify the form and line number to which the additional information applies. If an additional sheet is attached, include the amounts
from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset schedule or depreciation
schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the debtor’s interest, do not deduct the value of secured
claims. See the instructions to understand the terms used in this form.


 Part 1: Cash and cash equivalents


  1.   Does the debtor have any cash or cash equivalents?
       ❑No. Go to Part 2.
       ✔Yes. Fill in the information below.
       ❑
       All cash or cash equivalents owned or controlled by the debtor                                                                         Current value of debtor's
                                                                                                                                              interest

  2.   Cash on hand                                                                                                                                                 $0.00

  3.   Checking, savings, money market, or financial brokerage accounts (Identify all)
       Name of institution (bank or brokerage firm)                Type of account                      Last 4 digits of account number
       3.1 US Eagle Payroll Account (0040)                              Checking account                            3964                                         $193.61

       Additional Page Total - See continuation page for additional entries                                                                                   ($192.66)

  4.   Other cash equivalents (Identify all)
       None

  5.   Total of Part 1
                                                                                                                                                                    $0.95
       Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.



 Part 2: Deposits and prepayments


  6.   Does the debtor have any deposits or prepayments?
       ❑No. Go to Part 3.
       ✔Yes. Fill in the information below.
       ❑
                                                                                                                                              Current value of debtor's
                                                                                                                                              interest
  7.   Deposits, including security deposits and utility deposits
       Description, including name of holder of deposit




                 Case
Official Form 206A/B          20-11483-t7             Doc 1      Filed A/B:
                                                               Schedule 07/24/20       Entered
                                                                            Assets — Real          07/24/20
                                                                                          and Personal Property            12:42:35 Page 6 of 44page 1
Debtor        1933 Brewing Company LLC, A New Mexico Limited Liability Company                                          Case number (if known)
              Name



         7.1 GNN Development LLC                                                                                                                               $10,085.38

  8.     Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
         Description, including name of holder of prepayment

         None


  9.     Total of Part 2
                                                                                                                                                               $10,085.38
         Add lines 7 through 8 (including amounts on any additional sheets). Copy the total to line 81.



 Part 3: Accounts receivable


  10.     Does the debtor have any accounts receivable?
          ❑No. Go to Part 4.
          ✔Yes. Fill in the information below.
          ❑

                                                                                                                                                 Current value of debtor's
                                                                                                                                                 interest

  11.    Accounts Receivable

         11a. 90 days old or less:                    $0.00                  -                     $0.00                  = ...... ➔                                $0.00
                                       face amount                                 doubtful or uncollectible accounts


         11b. Over 90 days old:                       $0.00                  -                     $0.00                  = ...... ➔                                $0.00
                                       face amount                                 doubtful or uncollectible accounts


  12.    Total of Part 3
                                                                                                                                                                    $0.00
          Current value on lines 11a + 11b = line 12. Copy the total to line 82.



 Part 4: Investments


  13.     Does the debtor own any investments?
          ✔ No. Go to Part 5.
          ❑
          ❑Yes. Fill in the information below.

                                                                                                                  Valuation method used for      Current value of debtor's
                                                                                                                  current value                  interest

  14.     Mutual funds or publicly traded stocks not included in Part 1
          Name of fund or stock:

          None


  15.    Non-publicly traded stock and interests in incorporated and unincorporated businesses,
         including any interest in an LLC, partnership, or joint venture
          Name of fund or stock:                                                           % of ownership:

          None




Official Form 106A/B                                                          Schedule A/B: Property                                                            page 2
                     Case 20-11483-t7                  Doc 1         Filed 07/24/20      Entered 07/24/20 12:42:35 Page 7 of 44
Debtor       1933 Brewing Company LLC, A New Mexico Limited Liability Company                                   Case number (if known)
             Name



  16.    Government bonds, corporate bonds, and other negotiable and non-negotiable
         instruments not included in Part 1
         Describe:

         None


  17.    Total of Part 4
                                                                                                                                                            $0.00
         Add lines 14 through 16 (including any additional sheets). Copy the total to line 83.



 Part 5: Inventory, excluding agriculture assets


  18.    Does the debtor own any inventory (excluding agriculture assets)?
         ❑No. Go to Part 6.
         ✔Yes. Fill in the information below.
         ❑

         General description                                    Date of the last          Net book value of   Valuation method used      Current value of debtor's
                                                                physical inventory        debtor's interest   for current value          interest
                                                                                          (Where available)


  19.    Raw materials

         None

  20.    Work in progress

         None

  21.    Finished goods, including goods held for resale

         None

  22.    Other inventory or supplies

         22.1 3 Fryers - $600/each                                    04/01/2020                  (Unknown)    Used Market Value                        $1,800.00
                                                                    MM / DD / YYYY


         Additional Page Total - See continuation page for additional entries                                                                          $10,360.00

  23.    Total of Part 5
         Add lines 19 through 22 (including any additional sheets). Copy the total to line 84.                                                         $12,160.00


  24.    Is any of the property listed in Part 5 perishable?
         ❑No
         ✔Yes
         ❑
  25.    Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
         ✔ No
         ❑
         ❑Yes
  26.    Has any of the property listed in Part 5 been appraised by a professional within the last year?
         ✔ No
         ❑
         ❑Yes



Official Form 106A/B                                                        Schedule A/B: Property                                                      page 3
                     Case 20-11483-t7                Doc 1         Filed 07/24/20      Entered 07/24/20 12:42:35 Page 8 of 44
Debtor        1933 Brewing Company LLC, A New Mexico Limited Liability Company                                  Case number (if known)
             Name




 Part 6: Farming and fishing-related assets (other than titled motor vehicles and land)


  27.    Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?
         ✔ No. Go to Part 7.
         ❑
         ❑Yes. Fill in the information below.

         General description                                                          Net book value of       Valuation method used      Current value of debtor's
                                                                                      debtor's interest       for current value          interest
                                                                                          (Where available)


  28.    Crops — either planted or harvested

         None


  29.    Farm animals Examples: Livestock, poultry, farm-raised fish

         None


  30.    Farm machinery and equipment (Other than titled motor vehicles)

         None

  31.    Farm and fishing supplies, chemicals, and feed

         None


  32.    Other farming and fishing-related property not already listed in Part 6

         None

  33.    Total of Part 6
         Add lines 28 through 32. Copy the total to line 85.                                                                                                $0.00


  34.    Is the debtor a member of an agricultural cooperative?
         ✔ No
         ❑
         ❑Yes. Is any of the debtor's property stored at the cooperative?
            ❑No
            ❑Yes

  35.    Has any of the property listed in Part 6 been purchased within 20 days before the bankruptcy was filed?
         ✔ No
         ❑
         ❑Yes
  36.    Is a depreciation schedule available for any of the property listed in Part 6?
         ✔ No
         ❑
         ❑Yes
  37.    Has any of the property listed in Part 6 been appraised by a professional within the last year?
         ✔ No
         ❑
         ❑Yes


Official Form 106A/B                                                      Schedule A/B: Property                                                        page 4
                    Case 20-11483-t7                 Doc 1       Filed 07/24/20      Entered 07/24/20 12:42:35 Page 9 of 44
Debtor        1933 Brewing Company LLC, A New Mexico Limited Liability Company                                      Case number (if known)
             Name




 Part 7: Office furniture, fixtures, and equipment; and collectibles


  38.    Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?
         ❑No. Go to Part 8.
         ✔Yes. Fill in the information below.
         ❑

         General description                                                               Net book value of      Valuation method used      Current value of debtor's
                                                                                           debtor's interest      for current value          interest
                                                                                           (Where available)


  39.    Office furniture

         None


  40.    Office fixtures

         None


  41.    Office equipment, including all computer equipment and
         communication systems equipment and software

              Misc. Equipment provided by the landlord pursuant to                                        $0.00    Lease                                        $0.00
         41.1 the lease (See Exhibit 1 attached)


  42.    Collectibles Examples: Antiques and figurines; paintings, prints or other
         artwork; books, pictures, or other art objects; china and crystal; stamp, coin,
         or baseball card collections; other collections, memorabilia, or collectibles


         None


  43.    Total of Part 7
                                                                                                                                                                $0.00
         Add lines 39 through 42. Copy the total to line 86.

  44.    Is a depreciation schedule available for any of the property listed in Part 7?
         ✔ No
         ❑
         ❑Yes
  45.    Has any of the property listed in Part 7 been appraised by a professional within the last year?
         ✔ No
         ❑
         ❑Yes


 Part 8: Machinery, equipment, and vehicles


  46.    Does the debtor own or lease any machinery, equipment, or vehicles?
         ✔ No. Go to Part 9.
         ❑
         ❑Yes. Fill in the information below.
         General description                                                               Net book value of      Valuation method used      Current value of debtor's
         Include year, make, model, and identification numbers (i.e., VIN, HIN, or         debtor's interest      for current value          interest
         N-number)                                                                         (Where available)



Official Form 106A/B                                                         Schedule A/B: Property
                  Case 20-11483-t7                   Doc 1         Filed 07/24/20      Entered 07/24/20 12:42:35 Page 10 of 44 page 5
Debtor        1933 Brewing Company LLC, A New Mexico Limited Liability Company                                        Case number (if known)
             Name



  47. Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles


         None


  48.    Watercraft, trailers, motors, and related accessories Examples: Boats,
         trailers, motors, floating homes, personal watercraft, and fishing vessels


         None


  49. Aircraft and accessories

         None


  50.    Other machinery, fixtures, and equipment (excluding farm machinery
         and equipment)

         None


  51.    Total of Part 8
                                                                                                                                                                  $0.00
         Add lines 47 through 50. Copy the total to line 87.

  52.    Is a depreciation schedule available for any of the property listed in Part 8?
         ✔ No
         ❑
         ❑Yes

  53.    Has any of the property listed in Part 8 been appraised by a professional within the last year?
         ✔ No
         ❑
         ❑Yes


 Part 9: Real Property


  54.    Does the debtor own or lease any real property?
         ❑No. Go to Part 10.
         ✔Yes. Fill in the information below.
         ❑

         General description                                    Nature and extent of      Net book value of        Valuation method used       Current value of debtor's
         Include street address or other description such as    debtor's interest in      debtor's interest        for current value           interest
         Assessor Parcel Number (APN), and type of property     property                  (Where available)
         (for example, acreage, factory, warehouse, apartment
         or office building), if available


  55. Any building, other improved real estate, or land which the debtor owns or in which the debtor has interest

              3755 Southern Blvd SE, Rio Rancho,                 Commercial                               $0.00     Lease                                         $0.00
         55.1 NM                                                 Building Lease


  56.    Total of Part 9
                                                                                                                                                                  $0.00
         Add the current value on lines 55.1 through 55.3 and entries from any addition sheets. Copy the total to line 88.




Official Form 106A/B                                                        Schedule A/B: Property
                  Case 20-11483-t7                  Doc 1         Filed 07/24/20      Entered 07/24/20 12:42:35 Page 11 of 44 page 6
Debtor        1933 Brewing Company LLC, A New Mexico Limited Liability Company                                  Case number (if known)
             Name



  57.    Is a depreciation schedule available for any of the property listed in Part 9?
         ✔ No
         ❑
         ❑Yes
  58.    Has any of the property listed in Part 9 been appraised by a professional within the last year?
         ✔ No
         ❑
         ❑Yes


 Part 10: Intangibles and Intellectual Property


  59.    Does the debtor have any interests in intangibles or intellectual property?
         ❑No. Go to Part 11.
         ✔Yes. Fill in the information below.
         ❑

         General description                                                           Net book value of      Valuation method used      Current value of debtor's
                                                                                       debtor's interest      for current value          interest
                                                                                          (Where available)


  60.    Patents, copyrights, trademarks, and trade secrets

         None

  61.    Internet domain names and websites

         61.1 1933brewingco.com                                                                   (Unknown)                                           (Unknown)


  62.    Licenses, franchises, and royalties

         None

  63.    Customer lists, mailing lists, or other compilations

         None


  64.    Other intangibles, or intellectual property

         64.1 Beer Recipes                                                                        (Unknown)                                           (Unknown)


         Additional Page Total - See continuation page for additional entries                                                                               $0.00

  65.    Goodwill

         None


  66.    Total of Part 10
                                                                                                                                                            $0.00
         Add lines 60 through 65. Copy the total to line 89.

  67.    Do your lists or records include personally identifiable information of customers? (as defined in 11 U.S.C. §§ 101(41A) and 107)
         ✔ No
         ❑
         ❑Yes




Official Form 106A/B                                                      Schedule A/B: Property
                  Case 20-11483-t7                  Doc 1       Filed 07/24/20      Entered 07/24/20 12:42:35 Page 12 of 44 page 7
Debtor       1933 Brewing Company LLC, A New Mexico Limited Liability Company                                      Case number (if known)
             Name


  68.    Is there an amortization or other similar schedule available for any of the property listed in Part 10?
         ✔ No
         ❑
         ❑Yes
  69.    Has any of the property listed in Part 10 been appraised by a professional within the last year?
         ✔ No
         ❑
         ❑Yes


 Part 11: All other assets


  70.    Does the debtor own any other assets that have not yet been reported on this form?
         ❑No. Go to Part 12.
         ✔Yes. Fill in the information below.
         ❑

                                                                                                                                            Current value of debtor's
                                                                                                                                            interest

  71.    Notes receivable
         Description (include name of obligor)

         None


  72.    Tax refunds and unused net operating losses (NOLs)
         Description (for example, federal, state, local)

         72.1 2019 Tax Refund                                                                               Tax year:    2019                            (Unknown)


  73.    Interests in insurance policies or annuities

         None


  74.    Causes of action against third parties (whether or not a lawsuit has been filed)

              Answer and Counter-Claims re: GNN Development Co, LLC vs.                                                                                  (Unknown)
         74.1 1933 Brewing Company, LLC et al.; D-1329-CV-2020-00826
                              Count 1: Breach of Contract; Count II: Breach
                              of Covenant of Good Faith and Fair Dealing;
                              Count III: Violations of the NM Unfair Trade
         Nature of Claim      Practices Act; Count IV: Invasion of Privacy
         Amount Requested         (Unknown)




  75.    Other contingent and unliquidated claims or causes of action of every nature,
         including counterclaims of the debtor and rights to set off claims

         None


  76.    Trusts, equitable or future interests in property

         None


  77.    Other property of any kind not already listed Examples: Season tickets,
         country club membership

Official Form 106A/B                                                     Schedule A/B: Property
                  Case 20-11483-t7                   Doc 1     Filed 07/24/20      Entered 07/24/20 12:42:35 Page 13 of 44 page 8
Debtor        1933 Brewing Company LLC, A New Mexico Limited Liability Company                              Case number (if known)
             Name



         None


  78.    Total of Part 11
                                                                                                                                     $0.00
         Add lines 71 through 77. Copy the total to line 90.

  79.    Has any of the property listed in Part 11 been appraised by a professional within the last year?
         ✔ No
         ❑
         ❑Yes




Official Form 106A/B                                                     Schedule A/B: Property
                  Case 20-11483-t7                  Doc 1      Filed 07/24/20      Entered 07/24/20 12:42:35 Page 14 of 44 page 9
Debtor         1933 Brewing Company LLC, A New Mexico Limited Liability Company                                                                  Case number (if known)
              Name



Part 12: Summary


         Type of property                                                                            Current value of                                Current value
                                                                                                     personal property                               of real property


  80. Cash, cash equivalents, and financial assets. Copy line 5, Part 1.                                                   $0.95

  81. Deposits and prepayments. Copy line 9, Part 2.                                                                  $10,085.38

  82. Accounts receivable. Copy line 12, Part 3.                                                                           $0.00

  83. Investments. Copy line 17, Part 4.                                                                                   $0.00

  84. Inventory. Copy line 23, Part 5.                                                                                $12,160.00

  85. Farming and fishing-related assets. Copy line 33, Part 6.                                                            $0.00

  86. Office furniture, fixtures, and equipment; collectibles. Copy line
      43, Part 7.                                                                                                          $0.00

  87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                            $0.00


                                                                                                                                          ➔                             $0.00
  88. Real property. Copy line 56, Part 9..........................................................................

  89. Intangibles and intellectual property. Copy line 66, Part 10.                                                        $0.00

  90. All other assets. Copy line 78, Part 11.                                                  +                          $0.00



  91. Total. Add lines 80 through 90 for each column......                                  91a.                      $22,246.33        + 91b.                          $0.00



                                                                                                                                                                                $22,246.33
  92. Total of all property on Schedule A/B. Lines 91a + 91b = 92 .................................................................................................




                 Case
Official Form 206A/B             20-11483-t7                     Doc 1           Filed 07/24/20
                                                                                Schedule                Entered
                                                                                         A/B: Assets — Real         07/24/20
                                                                                                            and Personal Property                      12:42:35 Page 15 of 44
                                                                                                                                                                            page 10
Debtor        1933 Brewing Company LLC, A New Mexico Limited Liability Company                              Case number (if known)
              Name



           Additional Page


         All cash or cash equivalents owned or controlled by the debtor                                                              Current value of debtor's
                                                                                                                                     interest

  3.     Checking, savings, money market, or financial brokerage accounts - Continued
         Name of institution (bank or brokerage firm)           Type of account                  Last 4 digits of account number
         3.2 US Eagle Operating Account (0040)                       Checking account                        2750                                   ($202.66)

         3.3 US Eagle Primary Share Account (0001)                   Savings account                         2750                                      $5.00

         3.4 US Eagle Primary Share Account (0001)                   Savings account                         3964                                      $5.00


         General description                                Date of the last      Net book value of      Valuation method used       Current value of debtor's
                                                            physical inventory    debtor's interest      for current value           interest
                                                                                  (Where available)
  22. Other inventory or supplies - Continued
         22.2 6 Burner Range w/Oven                              04/01/2020               (Unknown)        Used Market Value                        $1,500.00
                                                               MM / DD / YYYY

         22.3 48 inch Grill                                      04/01/2020               (Unknown)        Used Market Value                          $800.00
                                                               MM / DD / YYYY

         22.4 48 inch Flat Top                                   04/01/2020               (Unknown)        Used Market Value                          $800.00
                                                               MM / DD / YYYY

         22.5 2 Sandwich Prep Tables - $1,500/each               04/01/2020               (Unknown)        Used Market Value                        $3,000.00
                                                               MM / DD / YYYY

         22.6 Dishware                                           04/01/2020               (Unknown)        Used Market Value                        $4,000.00
                                                               MM / DD / YYYY

         22.7 Prep Table                                         04/01/2020               (Unknown)        Used Market Value                          $100.00
                                                               MM / DD / YYYY

              4 Kegs w/ Beer labeled 1933 Brewing                04/01/2020               (Unknown)        Used Market Value                          $160.00
         22.8 Co. @ $40/each                                   MM / DD / YYYY




                 Case
Official Form 106A/B          20-11483-t7           Doc 1    Filed 07/24/20      Entered
                                                                       Schedule A/B: Property 07/24/20 12:42:35 Page 16 of 44page 11
 Fill in this information to identify the case:

                         1933 Brewing Company LLC, A New Mexico Limited Liability
 Debtor name                                   Company

 United States Bankruptcy Court for the:
                                      District of New Mexico


 Case number (if known):                                                                                                                    ❑Check if this is an
                                                                                                                                                amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                               12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
      ❑No. Check this box and submit page 1 of this form to the court with debtor’s other schedules. Debtor has nothing else to report on this form.
      ✔Yes. Fill in all of the information below.
      ❑
 Part 1: List Creditors Who Have Secured Claims

 2.     List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured claim,     Column A                   Column B
        list the creditor separately for each claim.
                                                                                                                             Amount of claim            Value of collateral
                                                                                                                             Do not deduct the          that supports this
                                                                                                                             value of collateral.       claim

2.1 Creditor’s name                                             Describe debtor’s property that is subject to a lien                  $563,636.00                  $12,000.00
    GNN Development Group, LLC                                  2 Sandwich Prep Tables - $1,500/each
                                                                3 Fryers - $600/each
        Creditor's mailing address
                                                                48 inch Flat Top
        c/o Cadigan Law Firm, P.C.
                                                                48 inch Grill
        PO Box 65112                                            6 Burner Range w/Oven
        Albuquerque, NM 87193                                   See continuation page.

        Creditor's email address, if known                      Describe the lien
                                                                Landlord's Lien
        Date debt was incurred                                  Is the creditor an insider or related party?
                                                                ❑✔ No
        Last 4 digits of account
        number                                                  ❑Yes.
        Do multiple creditors have an interest in the same Is anyone else liable on this claim?
        property?                                          ❑No
        ✔ No.
        ❑                                                  ❑✔Yes. Fill out Schedule H: Codebtors (Official Form 206H).
        ❑Yes. Specify each creditor, including this creditor,   As of the petition filing date, the claim is:
                and its relative priority.                      Check all that apply.
                                                                ❑Contingent
                                                                ❑Unliquidated
                                                                ❑Disputed



        Remarks: Lease at 3755 Southern Blvd SE, Rio Rancho, NM


 3.     Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional
        Page, if any.                                                                                                                 $563,636.00




                 Case
Official Form 206D            20-11483-t7            DocSchedule
                                                         1 Filed      07/24/20
                                                                 D: Creditors        Entered
                                                                              Who Have           07/24/20
                                                                                       Claims Secured         12:42:35 Page 17 of 44
                                                                                                      by Property                                                   page 1 of 3
Debtor      1933 Brewing Company LLC, A New Mexico Limited Liability Company                                    Case number (if known)
           Name
Part 2: List Others to Be Notified for a Debt Already Listed in Part 1

 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
 assignees of claims listed above, and attorneys for secured creditors.
 If no others need to be notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.

     Name and address                                                                                         On which line in Part 1      Last 4 digits of
                                                                                                              did you enter the related    account number for
                                                                                                              creditor?                    this entity


                                                                                                              Line




                 Case
Official Form 206D       20-11483-t7 Additional
                                       Doc Page 1 of
                                                  Filed   07/24/20
                                                     Schedule              Entered
                                                              D: Creditors Who        07/24/20
                                                                               Have Claims Secured 12:42:35
                                                                                                   by Property Page 18 of 44                                 page 2 of 3
Debtor    1933 Brewing Company LLC, A New Mexico Limited Liability Company                                  Case number (if known)
         Name

 Part 1: Additional Page

 2.

2.1 Creditor’s name                                  Describe debtor’s property that is subject to a lien
    GNN Development Group, LLC                       Dishware

                                                     Dishware

                                                    Prep Table




                 Case
Official Form 206D      20-11483-t7 Additional
                                      Doc Page 1 of
                                                 Filed   07/24/20
                                                    Schedule              Entered
                                                             D: Creditors Who        07/24/20
                                                                              Have Claims Secured 12:42:35
                                                                                                  by Property Page 19 of 44          page 3 of 3
 Fill in this information to identify the case:

                       1933 Brewing Company LLC, A New Mexico Limited Liability
 Debtor name                                 Company

 United States Bankruptcy Court for the:
                                     District of New Mexico


 Case number (if known):                                                                                                                  ❑Check if this is an
                                                                                                                                             amended filing

Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                      12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases(Official Form 206G). Number the entries in Parts 1 and 2
in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1: List All Creditors with PRIORITY Unsecured Claims

  1.    Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507)
        ❑No. Go to Part 2.
        ✔Yes. Go to line 2.
        ❑
 2.    List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors with
       priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                    Total claim                    Priority amount

2.1 Priority creditor’s name and mailing address              As of the petition filing date, the claim is:        $70,000.00                      $70,000.00
                                                              Check all that apply.
       Internal Revenue Service
                                                              ✔ Contingent
                                                              ❑
       Bankruptcy Stop                                        ✔ Unliquidated
                                                              ❑
       Po Box 7346
                                                              ✔ Disputed
                                                              ❑
       Philadelphia, PA 19101-7346                            Basis for the Claim:
                                                               Withholding Taxes
       Date or dates debt was incurred
                                                              Is the claim subject to offset?
       2019 - 2020
                                                              ✔ No
                                                              ❑
       Last 4 digits of account                               ❑ Yes
       number 9 9 8 0
       Specify Code subsection of PRIORITY unsecured
       claim: 11 U.S.C. § 507(a) (8)
2.2 Priority creditor’s name and mailing address              As of the petition filing date, the claim is:        $22,243.00                      $22,243.00
                                                              Check all that apply.
       New Mexico Taxation & Revenue Dept.
                                                              ✔ Contingent
                                                              ❑
       ATTN Bankruptcy Section                                ✔ Unliquidated
                                                              ❑
       P.O. Box 8575
                                                              ✔ Disputed
                                                              ❑
       Albuquerque, NM 87198                                  Basis for the Claim:
                                                               Withhold Taxes
       Date or dates debt was incurred
                                                              Is the claim subject to offset?
       2019 - 2020
                                                              ✔ No
                                                              ❑
       Last 4 digits of account                               ❑ Yes
       number 4 0 0 0
       Specify Code subsection of PRIORITY unsecured
       claim: 11 U.S.C. § 507(a) (8)




                  Case 20-11483-t7                  Doc 1        Filed 07/24/20             Entered 07/24/20 12:42:35 Page 20 of 44
Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                   page 1 of 5
Debtor       1933 Brewing Company LLC, A New Mexico Limited Liability Company                                       Case number (if known)
            Name

Part 2: List All Creditors with NONPRIORITY Unsecured Claims

  3.   List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill out
       and attach the Additional Page of Part 2.
                                                                                                                                              Amount of claim

3.1 Nonpriority creditor’s name and mailing address                            As of the petition filing date, the claim is:                   $1,420.00
       ARCOT Manufacturing Corp.                                               Check all that apply.
                                                                               ❑ Contingent
       2950 Mowery Rd.                                                         ❑ Unliquidated
                                                                               ❑ Disputed
       Houston, TX 77045-4809
                                                                               Basis for the claim: Equipment Lease
                                                                               Is the claim subject to offset?
       Date or dates debt was incurred                                         ✔ No
                                                                               ❑
       Last 4 digits of account number          0    6   1   9                 ❑ Yes
       Remarks: Rented a dish washing machine, returned the machine
       04/2020.
3.2 Nonpriority creditor’s name and mailing address                            As of the petition filing date, the claim is:                   $1,290.00
       CenturyLink                                                             Check all that apply.
                                                                               ❑ Contingent
       Business Service                                                        ❑ Unliquidated
                                                                               ❑ Disputed
       Po Box 52187                                                            Basis for the claim: Telephone Service
       Phoenix, AZ 85072-2187                                                  Is the claim subject to offset?
                                                                               ✔ No
                                                                               ❑
                                                                               ❑ Yes
       Date or dates debt was incurred

       Last 4 digits of account number          8    8   2   2

3.3 Nonpriority creditor’s name and mailing address                            As of the petition filing date, the claim is:                   $97,500.00
       Chase Business                                                          Check all that apply.
                                                                               ❑ Contingent
       PO Box 6185                                                             ❑ Unliquidated
                                                                               ❑ Disputed
       Westerville, OH 43086
                                                                               Basis for the claim: Business Credit Card
                                                                               Is the claim subject to offset?
       Date or dates debt was incurred                                         ✔ No
                                                                               ❑
       Last 4 digits of account number          5    2   1   1                 ❑ Yes
       Nonpriority creditor’s name and mailing address                         As of the petition filing date, the claim is:                   $330.00
3.4                                                                            Check all that apply.
       City of Rio Rancho Water and Wastewater
                                                                               ❑ Contingent
       3200 Civic Center Cir NE                                                ❑ Unliquidated
                                                                               ❑ Disputed
       Rio Rancho, NM 87144-4503
                                                                               Basis for the claim: Utility/Water
                                                                               Is the claim subject to offset?
       Date or dates debt was incurred                                         ✔ No
                                                                               ❑
       Last 4 digits of account number          6    9   3   4                 ❑ Yes
       Nonpriority creditor’s name and mailing address                         As of the petition filing date, the claim is:                   $140.00
3.5                                                                            Check all that apply.
       Directv for Business
                                                                               ❑ Contingent
       2230 E. Imperial Highway                                                ❑ Unliquidated
                                                                               ❑ Disputed
       El Segundo, CA 90245
                                                                               Basis for the claim: Cable TV Provider
                                                                               Is the claim subject to offset?
       Date or dates debt was incurred                                         ✔ No
                                                                               ❑
       Last 4 digits of account number          6    6   7   8                 ❑ Yes



                 Case
Official Form 206E/F       20-11483-t7              Doc 1 Schedule
                                                            FiledE/F:
                                                                   07/24/20       Entered
                                                                      Creditors Who          07/24/20
                                                                                    Have Unsecured Claims 12:42:35 Page 21 of 44                                   page 2 of 5
Debtor        1933 Brewing Company LLC, A New Mexico Limited Liability Company                          Case number (if known)
             Name




Part 2: Additional Page

3.6      Nonpriority creditor’s name and mailing address             As of the petition filing date, the claim is:               $430.00
         First Data Global Leasing                                   Check all that apply.
                                                                     ❑ Contingent
         P.O. Box 173845                                             ❑ Unliquidated
                                                                     ❑ Disputed
         Denver, CO 80217
                                                                                          Business Merchant
                                                                     Basis for the claim: Services Contract
         Date or dates debt was incurred                             Is the claim subject to offset?
                                                                     ✔ No
                                                                     ❑
         Last 4 digits of account number
                                                                     ❑ Yes
3.7      Nonpriority creditor’s name and mailing address             As of the petition filing date, the claim is:               $2,550.00
         PNM                                                         Check all that apply.
                                                                     ❑ Contingent
         PO Box 27900                                                ❑ Unliquidated
                                                                     ❑ Disputed
         Albuquerque, NM 87125-7900
                                                                     Basis for the claim: Utility/Electric
                                                                     Is the claim subject to offset?
         Date or dates debt was incurred                             ✔ No
                                                                     ❑
         Last 4 digits of account number       9   6   3    8        ❑ Yes
3.8      Nonpriority creditor’s name and mailing address             As of the petition filing date, the claim is:               $288.03
         Preventive Pest Control                                     Check all that apply.
                                                                     ❑ Contingent
         5130 2nd NW                                                 ❑ Unliquidated
                                                                     ❑ Disputed
         Albuquerque, NM 87107
                                                                     Basis for the claim: Pest Control Service
                                                                     Is the claim subject to offset?
         Date or dates debt was incurred                             ✔ No
                                                                     ❑
         Last 4 digits of account number       1   7   8    6        ❑ Yes
         Nonpriority creditor’s name and mailing address             As of the petition filing date, the claim is:               $680.00
3.9                                                                  Check all that apply.
         Sparklight Business
                                                                     ❑ Contingent
         7501 Nita PL NE                                             ❑ Unliquidated
                                                                     ❑ Disputed
         Rio Rancho, NM 87144-8732
                                                                     Basis for the claim: Internet Service
                                                                     Is the claim subject to offset?
         Date or dates debt was incurred                             ✔ No
                                                                     ❑
         Last 4 digits of account number       9   0   0    6        ❑ Yes
         Nonpriority creditor’s name and mailing address             As of the petition filing date, the claim is:               $15,046.96
3.10                                                                 Check all that apply.
         Street Shares
                                                                     ❑ Contingent
         1900 Campus Commons Dr. 200                                 ❑ Unliquidated
                                                                     ❑ Disputed
         Reston, VA 20191
                                                                     Basis for the claim: Working Capital Loan
                                                                     Is the claim subject to offset?
         Date or dates debt was incurred       04/03/2019            ✔ No
                                                                     ❑
         Last 4 digits of account number       4   6   6    4        ❑ Yes




                 Case
Official Form 206E/F       20-11483-t7          Doc 1 Schedule
                                                        FiledE/F:
                                                               07/24/20       Entered
                                                                  Creditors Who          07/24/20
                                                                                Have Unsecured Claims 12:42:35 Page 22 of 44                  page 3 of 5
Debtor        1933 Brewing Company LLC, A New Mexico Limited Liability Company                          Case number (if known)
             Name




Part 2: Additional Page

3.11 Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:               $1,996.00
         Symmetry Energy Solutions LLC                               Check all that apply.
                                                                     ❑ Contingent
         1111 Louisiana St., B-241                                   ❑ Unliquidated
                                                                     ❑ Disputed
         Houston, TX 77002-5228
                                                                     Basis for the claim: Utility/Gas
                                                                     Is the claim subject to offset?
         Date or dates debt was incurred                             ✔ No
                                                                     ❑
         Last 4 digits of account number    5   7   8   4            ❑ Yes
3.12 Nonpriority creditor’s name and mailing address                 As of the petition filing date, the claim is:               $739.01
         Waste Management of New Mexico, Inc.                        Check all that apply.
                                                                     ❑ Contingent
         PO Box 43350                                                ❑ Unliquidated
                                                                     ❑ Disputed
         Phoenix, AZ 85080
                                                                     Basis for the claim: Trash Service
                                                                     Is the claim subject to offset?
         Date or dates debt was incurred                             ✔ No
                                                                     ❑
         Last 4 digits of account number    3   0   0   5            ❑ Yes




                 Case
Official Form 206E/F      20-11483-t7        Doc 1 Schedule
                                                     FiledE/F:
                                                            07/24/20       Entered
                                                               Creditors Who          07/24/20
                                                                             Have Unsecured Claims 12:42:35 Page 23 of 44                    page 4 of 5
Debtor       1933 Brewing Company LLC, A New Mexico Limited Liability Company               Case number (if known)
             Name


Part 4: Total Amounts of the Priority and Nonpriority Unsecured Claims


  5.     Add the amounts of priority and nonpriority unsecured claims.


                                                                                            Total of claim amounts



  5a. Total claims from Part 1                                                  5a.          $92,243.00




  5b. Total claims from Part 2                                                  5b.          $122,410.00
                                                                                      +

  5c. Total of Parts 1 and 2                                                    5c.          $214,653.00
      Lines 5a + 5b = 5c.




                 Case
Official Form 206E/F      20-11483-t7          Doc 1 Schedule
                                                       FiledE/F:
                                                              07/24/20       Entered
                                                                 Creditors Who          07/24/20
                                                                               Have Unsecured Claims 12:42:35 Page 24 of 44   page 5 of 5
 Fill in this information to identify the case:

                       1933 Brewing Company LLC, A New Mexico Limited Liability
 Debtor name                                 Company

 United States Bankruptcy Court for the:
                                     District of New Mexico


 Case number (if known):                                         Chapter    7                                                            ❑Check if this is an
                                                                                                                                            amended filing

Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                                  12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, numbering the entries
consecutively.
1.     Does the debtor have any executory contracts or unexpired leases?
       ❑ No. Check this box and file this form with the court with the debtor’s other schedules. There is nothing else to report on this form.
       ✔ Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Assets - Real and Personal Property (Official Form 206A/B).
       ❑
 2. List all contracts and unexpired leases                                                    State the name and mailing address for all other parties with whom the
                                                                                               debtor has an executory contract or unexpired lease

        State what the contract or lease is       Commercial Building Lease re: 3755           GNN Development Group, LLC
2.1     for and the nature of the debtor’s        Southern Blvd SE, Rio Rancho, NM
        interest                                                                               c/o Cadigan Law Firm, P.C.
                                                  Plus Furniture, Fixtures & Equipment
        State the term remaining                                                               PO Box 65112
                                                  Contract to be REJECTED
                                                                                               Albuquerque, NM 87193
        List the contract number of any           0 months
        government contract



        State what the contract or lease is
2.2     for and the nature of the debtor’s
        interest

        State the term remaining

        List the contract number of any
        government contract


        State what the contract or lease is
2.3     for and the nature of the debtor’s
        interest

        State the term remaining

        List the contract number of any
        government contract


        State what the contract or lease is
2.4     for and the nature of the debtor’s
        interest

        State the term remaining

        List the contract number of any
        government contract


        State what the contract or lease is
2.5     for and the nature of the debtor’s
        interest

        State the term remaining

         List the contract number of any
         government contract
Official Form 206GCase 20-11483-t7                   Doc 1Schedule
                                                              Filed    07/24/20
                                                                   G: Executory       Entered
                                                                                Contracts         07/24/20
                                                                                          and Unexpired Leases 12:42:35 Page 25 of 44                            page 1 of 1
 Fill in this information to identify the case:

                       1933 Brewing Company LLC, A New Mexico Limited Liability
 Debtor name                                 Company

 United States Bankruptcy Court for the:
                                     District of New Mexico


 Case number (if known):                                                                                                                 ❑Check if this is an
                                                                                                                                             amended filing

Official Form 206H
Schedule H: Codebtors                                                                                                                                                12/15
Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the Additional Page to this
page.


  1. Does the debtor have any codebtors?
        ❑No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
        ✔Yes
        ❑
  2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of creditors, Schedules
     D-G.Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule on which the creditor is listed. If the
     codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.

         Column 1: Codebtor                                                                                         Column 2: Creditor
                                                                                                                                                     Check all schedules
            Name                                   Mailing Address                                                  Name
                                                                                                                                                     that apply:

  2.1     Crespo, Chandrika Patricia              7897 Enchanted Range Dr                                           Internal Revenue Service           ❑D
                                                  Street
                                                                                                                                                       ✔E/F
                                                                                                                                                       ❑
                                                                                                                                                       ❑G
                                                  El Paso, TX 79911-7514
                                                  City                                State         ZIP Code
                                                                                                                    New Mexico Taxation & Revenue      ❑D
                                                                                                                    Dept.                              ✔E/F
                                                                                                                                                       ❑
                                                                                                                                                       ❑G
                                                                                                                    GNN Development Group, LLC         ❑D
                                                                                                                                                       ❑E/F
                                                                                                                                                       ✔G
                                                                                                                                                       ❑
                                                                                                                    Street Shares                      ❑D
                                                                                                                                                       ✔E/F
                                                                                                                                                       ❑
                                                                                                                                                       ❑G
                                                                                                                    GNN Development Group, LLC         ✔D
                                                                                                                                                       ❑
                                                                                                                                                       ❑E/F
                                                                                                                                                       ❑G
                                                                                                                    Chase Business                     ❑D
                                                                                                                                                       ✔E/F
                                                                                                                                                       ❑
                                                                                                                                                       ❑G




                 Case
Official Form 206H          20-11483-t7                    Doc 1     Filed 07/24/20       Entered 07/24/20 12:42:35 Page 26 of 44page 1 of 3
                                                                            Schedule H: Codebtors
Debtor      1933 Brewing Company LLC, A New Mexico Limited Liability Company                             Case number (if known)
            Name


          Additional Page if Debtor Has More Codebtors

           Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.


   Column 1: Codebtor                                                                                     Column 2: Creditor
                                                                                                                                          Check all schedules
         Name                        Mailing Address                                                      Name
                                                                                                                                          that apply:

  2.2     Renteria, Ricardo             5912 Rio Arriba Rd NE                                             Internal Revenue Service         ❑D
                                        Street
                                                                                                                                           ✔E/F
                                                                                                                                           ❑
                                                                                                                                           ❑G
                                        Rio Rancho, NM 87144
                                        City                                   State        ZIP Code
                                                                                                          New Mexico Taxation & Revenue    ❑D
                                                                                                          Dept.                            ✔E/F
                                                                                                                                           ❑
                                                                                                                                           ❑G
                                                                                                          GNN Development Group, LLC       ❑D
                                                                                                                                           ❑E/F
                                                                                                                                           ✔G
                                                                                                                                           ❑

                                                                                                          Street Shares                    ❑D
                                                                                                                                           ✔E/F
                                                                                                                                           ❑
                                                                                                                                           ❑G

                                                                                                          GNN Development Group, LLC       ✔D
                                                                                                                                           ❑
                                                                                                                                           ❑E/F
                                                                                                                                           ❑G

                                                                                                          Chase Business                   ❑D
                                                                                                                                           ✔E/F
                                                                                                                                           ❑
                                                                                                                                           ❑G



  2.3
                                        Street




                                        City                                   State        ZIP Code




  2.4
                                        Street




                                        City                                   State        ZIP Code




                 Case
Official Form 206H       20-11483-t7             Doc 1    Filed 07/24/20
                                                                  Schedule H: Entered
                                                                              Codebtors 07/24/20 12:42:35 Page 27 of 44                             page 2 of 3
Debtor      1933 Brewing Company LLC, A New Mexico Limited Liability Company                             Case number (if known)
            Name


          Additional Page if Debtor Has More Codebtors

           Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.


   Column 1: Codebtor                                                                                     Column 2: Creditor
                                                                                                                                  Check all schedules
         Name                        Mailing Address                                                      Name
                                                                                                                                  that apply:

  2.5
                                        Street




                                        City                                   State        ZIP Code




  2.6
                                        Street




                                        City                                   State        ZIP Code




                 Case
Official Form 206H      20-11483-t7              Doc 1    Filed 07/24/20
                                                                  Schedule H: Entered
                                                                              Codebtors 07/24/20 12:42:35 Page 28 of 44                     page 3 of 3
                                               1




Case 20-11483-t7   Doc 1   Filed 07/24/20   Entered 07/24/20 12:42:35 Page 29 of 44
Case 20-11483-t7   Doc 1   Filed 07/24/20   Entered 07/24/20 12:42:35 Page 30 of 44
   7/24/2020




Case 20-11483-t7   Doc 1   Filed 07/24/20   Entered 07/24/20 12:42:35 Page 31 of 44
 Fill in this information to identify the case:

                       1933 Brewing Company LLC, A New Mexico Limited Liability
 Debtor name                                 Company

 United States Bankruptcy Court for the:
                                     District of New Mexico


 Case number (if known):                                                                                                                 ❑Check if this is an
                                                                                                                                            amended filing

Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                              04/19
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name
and case number (if known).



 Part 1: Income


 1. Gross revenue from business

    ❑None
          Identify the beginning and ending dates of the debtor’s fiscal year, which may        Sources of revenue                         Gross revenue
          be a calendar year                                                                    Check all that apply                       (before deductions and
                                                                                                                                           exclusions)

         From the beginning of the                                                             ✔ Operating a business
                                                                                               ❑                                                                $121,831.32
         fiscal year to filing date:              From 01/01/2020
                                                        MM/ DD/ YYYY
                                                                        to    Filing date
                                                                                               ❑Other

         For prior year:                          From 01/01/2019       to    12/31/2019       ✔ Operating a business
                                                                                               ❑                                                                $636,218.00
                                                        MM/ DD/ YYYY           MM/ DD/ YYYY    ❑Other

         For the year before that:                From 01/01/2018       to    12/31/2018       ✔ Operating a business
                                                                                               ❑                                                                $287,642.00
                                                        MM/ DD/ YYYY           MM/ DD/ YYYY    ❑Other


 2. Non-business revenue
    Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits, and royalties. List
    each source and the gross revenue for each separately. Do not include revenue listed in line 1.

    ✔None
    ❑
                                                                                               Description of sources of revenue           Gross revenue from each
                                                                                                                                           source
                                                                                                                                           (before deductions and
                                                                                                                                           exclusions)

       From the beginning of the
       fiscal year to filing date:            From 01/01/2020          to    Filing date
                                                       MM/ DD/ YYYY


       For prior year:                        From 01/01/2019          to    12/31/2019
                                                       MM/ DD/ YYYY           MM/ DD/ YYYY


       For the year before that:              From 01/01/2018          to    12/31/2018
                                                       MM/ DD/ YYYY           MM/ DD/ YYYY




Official Form 207Case       20-11483-t7                DocStatement
                                                            1 Filed      07/24/20
                                                                    of Financial Affairs forEntered    07/24/20
                                                                                            Non-Individuals Filing for 12:42:35
                                                                                                                       Bankruptcy Page 32 of 44                        page 1
Debtor           1933 Brewing Company LLC, A New Mexico Limited Liability Company                                      Case number (if known)
               Name



 Part 2: List Certain Transfers Made Before Filing for Bankruptcy

 3. Certain payments or transfers to creditors within 90 days before filing this case
    List payments or transfers—including expense reimbursements—to any creditor, other than regular employee compensation, within 90 days before filing this case unless
    the aggregate value of all property transferred to that creditor is less than $6,825. (This amount may be adjusted on 4/01/22 and every 3 years after that with respect to
    cases filed on or after the date of adjustment.)

    ✔None
    ❑

    Creditor’s name and address                                Dates               Total amount or value              Reasons for payment or transfer
                                                                                                                      Check all that apply


 3.1.                                                                                                                 ❑Secured debt
        Creditor's name                                                                                               ❑Unsecured loan repayments
                                                                                                                      ❑Suppliers or vendors
                                                                                                                      ❑Services
        Street

                                                                                                                      ❑Other
        City                          State    ZIP Code

 4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
    List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed or co-signed by an
    insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $6,825. (This amount may be adjusted on 4/01/22 and every 3
    years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments listed in line 3. Insiders include officers, directors, and anyone
    in control of a corporate debtor and their relatives; general partners of a partnership debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and
    any managing agent of the debtor. 11 U.S.C. § 101(31).
    ❑None
    Insider’s name and address                                 Dates               Total amount or value              Reasons for payment or transfer



 4.1.    Renteria, Ricardo                                     Weekly/Monthly                   $13,000.00            Monthly payments made to GNN Development
        Creditor's name                                                                                               Group, LLC in the amount of $10,139.06; Weekly
         5912 Rio Arriba Rd NE                                                                                        payments made to Street Shares Lending Co. in the
        Street                                                                                                        amount of $327.05; Monthly Payments made to
                                                                                                                      Chase Business Credit Card in the approximate
                                                                                                                      mount of $1,000.00.
         Rio Rancho, NM 87144
        City                          State    ZIP Code

         Relationship to debtor

         Managing Member


 4.2.    Crespo, Chandrika Patricia                            Weekly/Monthly                   $13,000.00            Monthly payments made to GNN Development
        Creditor's name                                                                                               Group, LLC in the amount of $10,139.06; Weekly
         7897 Enchanted Range Dr                                                                                      payments made to Street Shares Lending Co. in the
        Street                                                                                                        amount of $327.05; Monthly Payments made to
                                                                                                                      Chase Business Credit Card in the approximate
                                                                                                                      mount of $1,000.00.
         El Paso, TX 79911-7514
        City                          State    ZIP Code

         Relationship to debtor

         Managing Member


 5. Repossessions, foreclosures, and returns
    List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at a foreclosure sale,
    transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.
    ❑None
Official Form 207Case        20-11483-t7            DocStatement
                                                         1 Filed      07/24/20
                                                                 of Financial Affairs forEntered    07/24/20
                                                                                         Non-Individuals Filing for 12:42:35
                                                                                                                    Bankruptcy Page 33 of 44                                  page 2
Debtor           1933 Brewing Company LLC, A New Mexico Limited Liability Company                                       Case number (if known)
               Name


    Creditor’s name and address                                Description of the property                                   Date                       Value of property



 5.1.    Internal Revenue Service                               Cash levied in Bank Account at US Eagle                       3/18/2020                          $3,342.00
        Creditor's name
         P.O. Box 7346
        Street



         Philadelphia, PA 19101-7346
        City                         State     ZIP Code


 5.2.    ARCOT Manufacturing Corp.                             Equipment Lease: Dish Washing Machine,                         4/2020                             $1,500.00
        Creditor's name                                        returned on 4/2020
         2950 Mowery Rd.
        Street



         Houston, TX 77045-4809
        City                         State     ZIP Code

 6. Setoffs
    List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account of the debtor without
    permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a debt.
    ✔None
    ❑
    Creditor’s name and address                                Description of the action creditor took                       Date action was            Amount
                                                                                                                             taken


 5.1.
        Creditor's name
                                                                XXXX–
        Street




        City                         State     ZIP Code

 Part 3: Legal Actions or Assignments

 7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
    List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved in any capacity
     —within 1 year before filing this case.
    ❑None
 7.1.    Case title                               Nature of case                              Court or agency's name and address                        Status of case

         GNN Development Group, LLC               Complaint for Breach of Lease              Thirteenth Judicial District Court                        ✔Pending
                                                                                                                                                       ❑
                                                                                                                                                       ❑On appeal
         vs. 1933 Brewing Company, LLC,                                                     Name
         Ricardo Renteria and Chandrika
                                                                                                                                                       ❑Concluded
                                                                                             1500 Idalia Road, Bldg A
         Crespo                                                                             Street
                                                                                             County of Sandoval
         Case number                                                                         Bernalillo, NM 87004
                                                                                            City                           State       ZIP Code
         D-1329-CV-2020-00826
 8. Assignments and receivership
    List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a receiver, custodian,
    or other court-appointed officer within 1 year before filing this case.
    ✔None
    ❑




Official Form 207Case        20-11483-t7            DocStatement
                                                         1 Filed      07/24/20
                                                                 of Financial Affairs forEntered    07/24/20
                                                                                         Non-Individuals Filing for 12:42:35
                                                                                                                    Bankruptcy Page 34 of 44                                    page 3
Debtor            1933 Brewing Company LLC, A New Mexico Limited Liability Company                                      Case number (if known)
                Name


 8.1.     Custodian’s name and address                          Description of the property                             Value


         Custodian’s name
                                                                Case title                                              Court name and address
         Street
                                                                                                                       Name

                                                                Case number                                            Street
         City                          State     ZIP Code



                                                                Date of order or assignment                            City                          State     ZIP Code




 Part 4: Certain Gifts and Charitable Contributions

 9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of the gifts to that
    recipient is less than $1,000
    ✔None
    ❑
 9.1.     Recipient’s name and address                          Description of the gifts or contributions                       Dates given          Value


         Recipient’s name


         Street




         City                          State     ZIP Code


          Recipient’s relationship to debtor




 Part 5: Certain Losses

 10. All losses from fire, theft, or other casualty within 1 year before filing this case.
        ✔None
        ❑
        Description of the property lost and how the loss          Amount of payments received for the loss                           Date of loss      Value of property
        occurred                                                   If you have received payments to cover the loss, for                                 lost
                                                                   example, from insurance, government compensation, or
                                                                   tort liability, list the total received.
                                                                   List unpaid claims on Official Form 106A/B (Schedule A/B:
                                                                   Assets – Real and Personal Property).


 10.1.


 Part 6: Certain Payments or Transfers

 11. Payments related to bankruptcy
        List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing of this case to another
        person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy relief, or filing a bankruptcy case.
        ❑None




Official Form 207Case         20-11483-t7            DocStatement
                                                          1 Filed      07/24/20
                                                                  of Financial Affairs forEntered    07/24/20
                                                                                          Non-Individuals Filing for 12:42:35
                                                                                                                     Bankruptcy Page 35 of 44                                 page 4
Debtor          1933 Brewing Company LLC, A New Mexico Limited Liability Company                                      Case number (if known)
                Name


 11.1.    Who was paid or who received the transfer?              If not money, describe any property transferred                Dates                 Total amount or
                                                                                                                                                       value

         Askew & White, LLC                                       Retainer                                                       07/16/2020                      $1,750.00


          Address

         1122 Central Ave Sw Ste 1
         Street


         Albuquerque, NM 87102-2947
         City                        State     ZIP Code


          Email or website address



          Who made the payment, if not debtor?

         Ricardo Renteria



 12. Self-settled trusts of which the debtor is a beneficiary
     List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case to a self-settled trust
     or similar device.
     Do not include transfers already listed on this statement.
     ✔None
     ❑

 12.1.     Name of trust or device                              Describe any property transferred                              Dates transfers         Total amount or
                                                                                                                               were made               value




           Trustee




 13. Transfers not already listed on this statement
     List any transfers of money or other property—by sale, trade, or any other means—made by the debtor or a person acting on behalf of the debtor within 2 years before the
     filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include both outright transfers and transfers
     made as security. Do not include gifts or transfers previously listed on this statement.
     ✔None
     ❑

 13.1.    Who received the transfer?                           Description of property transferred or payments                  Date transfer         Total amount or
                                                               received or debts paid in exchange                               was made              value




          Address


         Street




         City                         State     ZIP Code


          Relationship to debtor




Official Form 207Case       20-11483-t7            DocStatement
                                                        1 Filed      07/24/20
                                                                of Financial Affairs forEntered    07/24/20
                                                                                        Non-Individuals Filing for 12:42:35
                                                                                                                   Bankruptcy Page 36 of 44                                  page 5
Debtor          1933 Brewing Company LLC, A New Mexico Limited Liability Company                                       Case number (if known)
                Name


 Part 7: Previous Locations

 14. Previous addresses
     List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.
     ✔Does not apply
     ❑
    Address                                                                                                         Dates of occupancy


 14.1.                                                                                                            From                          To
         Street




         City                            State     ZIP Code



 Part 8: Health Care Bankruptcies

 15. Health Care bankruptcies
     Is the debtor primarily engaged in offering services and facilities for:
      —diagnosing or treating injury, deformity, or disease, or
      —providing any surgical, psychiatric, drug treatment, or obstetric care?
     ✔No. Go to Part 9.
     ❑
     ❑Yes. Fill in the information below.

          Facility name and address                           Nature of the business operation, including type of services the            If debtor provides meals
                                                              debtor provides                                                             and housing, number of
                                                                                                                                          patients in debtor’s care

 15.1.
         Facility name


         Street                                               Location where patient records are maintained(if different from facility    How are records kept?
                                                              address). If electronic, identify any service provider.
         City                       State     ZIP Code                                                                                   Check all that apply:
                                                                                                                                         ❑Electronically
                                                                                                                                         ❑Paper

 Part 9: Personally Identifiable Information


 16. Does the debtor collect and retain personally identifiable information of customers?
     ✔ No.
     ❑
     ❑Yes. State the nature of the information collected and retained.
                  Does the debtor have a privacy policy about that information?
                  ❑No
                  ❑Yes




Official Form 207Case         20-11483-t7             DocStatement
                                                           1 Filed      07/24/20
                                                                   of Financial Affairs forEntered    07/24/20
                                                                                           Non-Individuals Filing for 12:42:35
                                                                                                                      Bankruptcy Page 37 of 44                        page 6
Debtor          1933 Brewing Company LLC, A New Mexico Limited Liability Company                                          Case number (if known)
                Name


 17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b) or other pension or profit-sharing plan
     made available by the debtor as an employee benefit?
        ✔No. Go to Part 10.
        ❑
        ❑Yes. Does the debtor serve as plan administrator?
              ❑No. Go to Part 10.
              ❑Yes. Fill in below:
                       Name of plan                                                                         Employer identification number of the plan

                                                                                                             EIN:           –

                       Has the plan been terminated?
                       ❑No
                       ❑Yes

 Part 10: Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

 18. Closed financial accounts
        Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold, moved, or
        transferred?
        Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses, cooperatives,
        associations, and other financial institutions.
        ✔None
        ❑
    Financial institution name and address                     Last 4 digits of account         Type of account             Date account was              Last balance
                                                               number                                                       closed, sold, moved,          before closing
                                                                                                                            or transferred                or transfer

 18.1                                                          XXXX–                           ❑Checking
         Name
                                                                                               ❑Savings
                                                                                               ❑Money market
                                                                                               ❑Brokerage
         Street


                                                                                               ❑Other
         City                         State   ZIP Code

 19. Safe deposit boxes
        List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this case.
        ✔None
        ❑
 19.1     Depository institution name and address              Names of anyone with access to it               Description of the contents                   Does debtor
                                                                                                                                                             still have it?

                                                                                                                                                            ❑    No
         Name
                                                                                                                                                            ❑    Yes
         Street

                                                               Address

         City                         State   ZIP Code



 20. Off-premises storage
        List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in which the debtor does
        business.
        ✔None
        ❑



Official Form 207Case        20-11483-t7              DocStatement
                                                           1 Filed      07/24/20
                                                                   of Financial Affairs forEntered    07/24/20
                                                                                           Non-Individuals Filing for 12:42:35
                                                                                                                      Bankruptcy Page 38 of 44                                   page 7
Debtor           1933 Brewing Company LLC, A New Mexico Limited Liability Company                                          Case number (if known)
                Name


 20.1      Facility name and address                             Names of anyone with access to it              Description of the contents                    Does debtor
                                                                                                                                                               still have it?

                                                                                                                                                             ❑    No
         Name
                                                                                                                                                             ❑    Yes
          Street

                                                                 Address

         City                           State    ZIP Code



 Part 11: Property the Debtor Holds or Controls That the Debtor Does Not Own

 21. Property held for another
        List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do not list leased or
        rented property.
        ❑None

    Owner’s name and address                                    Location of the property                       Description of the property                    Value

   Admiral Beverage Corporation                                 3755 Southern Blvd. SE                       2 Kegs at $40.00/Each                                    $80.00
   Name
   3980 Prince St Se
   Street                                                       Rio Rancho, NM 87124


   Albuquerque                       NM
   87105-0628
   City                               State     ZIP Code

 Part 12: Details About Environmental Information



         For the purpose of Part 12, the following definitions apply:
                Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the medium
                affected (air, land, water, or any other medium).
                Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly owned, operated,
                or utilized.
                Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a similarly harmful
                substance.
         Report all notices, releases, and proceedings known, regardless of when they occurred

 22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law?
     Include settlements and orders.
        ✔ No
        ❑
        ❑Yes. Provide details below.

    Case title                                          Court or agency name and address                      Nature of the case                             Status of case

                                                                                                                                                            ❑Pending
    Case number
                                                       Name
                                                                                                                                                            ❑On appeal
                                                                                                                                                            ❑Concluded
                                                       Street




                                                       City                           State   ZIP Code



Official Form 207Case           20-11483-t7             DocStatement
                                                             1 Filed      07/24/20
                                                                     of Financial Affairs forEntered    07/24/20
                                                                                             Non-Individuals Filing for 12:42:35
                                                                                                                        Bankruptcy Page 39 of 44                                  page 8
Debtor           1933 Brewing Company LLC, A New Mexico Limited Liability Company                                   Case number (if known)
                 Name


 23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an environmental law?
     ✔ No
     ❑
     ❑Yes. Provide details below.


    Site name and address                            Governmental unit name and address               Environmental law, if known                    Date of notice


   Name                                             Name


   Street                                           Street




   City                      State   ZIP Code       City                        State   ZIP Code

 24. Has the debtor notified any governmental unit of any release of hazardous material?
     ✔ No
     ❑
     ❑Yes. Provide details below.

    Site name and address                            Governmental unit name and address               Environmental law, if known                    Date of notice


   Name                                             Name


   Street                                           Street




   City                      State   ZIP Code       City                        State   ZIP Code




 Part 13: Details About the Debtor’s Business or Connections to Any Business



 25. Other businesses in which the debtor has or has had an interest
     List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case. Include this information
     even if already listed in the Schedules.
     ✔None
     ❑

           Business name and address                       Describe the nature of the business                Employer Identification number
                                                                                                              Do not include Social Security number or ITIN.
 25.1.
                                                                                                             EIN:           –
          Name
                                                                                                              Dates business existed
          Street
                                                                                                             From                     To



          City                   State   ZIP Code


 26. Books, records, and financial statements

 26a. List   all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
     ❑None

Official Form 207Case        20-11483-t7             DocStatement
                                                          1 Filed      07/24/20
                                                                  of Financial Affairs forEntered    07/24/20
                                                                                          Non-Individuals Filing for 12:42:35
                                                                                                                     Bankruptcy Page 40 of 44                            page 9
Debtor        1933 Brewing Company LLC, A New Mexico Limited Liability Company                     Case number (if known)
             Name


           Name and address                                                                     Dates of service

 26a.1.    Angel Office Automation                                                             From 08/20/2018       To Present
          Name
           11136 Bill Hill
          Street



           El Paso, TX 79936
          City                                         State                     ZIP Code



 26b.     List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a
          financial statement within 2 years before filing this case.
          ❑None
           Name and address                                                                     Dates of service

 26b.1.    Angel Office Automation                                                             From 08/20/2018       To Present
          Name
           11136 Bill Hill
          Street



           El Paso, TX 79936
          City                                         State                     ZIP Code



 26c.     List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.
          ❑None
           Name and address                                                                     If any books of account and records are
                                                                                                unavailable, explain why
 26c.1.
           Angel Office Automation
          Name
           11136 Bill Hill
          Street



           El Paso, TX 79936
          City                                         State                     ZIP Code




 26d. List   all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued
        a financial statement within 2 years before filing this case.
        ✔None
        ❑
           Name and address

 26d.1.
          Name


          Street




          City                                         State                     ZIP Code




Official Form 207Case        20-11483-t7       DocStatement
                                                    1 Filed      07/24/20
                                                            of Financial Affairs forEntered    07/24/20
                                                                                    Non-Individuals Filing for 12:42:35
                                                                                                               Bankruptcy Page 41 of 44     page 10
Debtor          1933 Brewing Company LLC, A New Mexico Limited Liability Company                                      Case number (if known)
                Name


 27. Inventories
     Have any inventories of the debtor’s property been taken within 2 years before filing this case?
     ✔ No
     ❑
     ❑Yes. Give the details about the two most recent inventories.

    Name of the person who supervised the taking of the inventory                                    Date of            The dollar amount and basis (cost, market, or
                                                                                                     inventory          other basis) of each inventory




          Name and address of the person who has possession of inventory records

 27.1.
         Name


         Street




         City                                         State                ZIP Code

 28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people in control of the
     debtor at the time of the filing of this case.

    Name                               Address                                                         Position and nature of any interest     % of interest, if any


    Renteria, Ricardo                  5912 Rio Arriba Rd NE Rio Rancho, NM 87144                     Managing Member,                         50.00 %

    Crespo, Chandrika Patricia         7897 Enchanted Range Dr El Paso, TX 79911-7514                 Managing Member,                         50.00 %


 29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in control of the debtor, or
     shareholders in control of the debtor who no longer hold these positions?
     ✔ No
     ❑
     ❑Yes. Identify below.
    Name                               Address                                                         Position and nature of any      Period during which
                                                                                                       interest                        position or interest was held



                                                                                                 ,                                           From
                                                                                                                                             To

 30. Payments, distributions, or withdrawals credited or given to insiders

     Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses, loans, credits on
     loans, stock redemptions, and options exercised?
     ❑No
     ✔Yes. Identify below.
     ❑




Official Form 207Case       20-11483-t7            DocStatement
                                                        1 Filed      07/24/20
                                                                of Financial Affairs forEntered    07/24/20
                                                                                        Non-Individuals Filing for 12:42:35
                                                                                                                   Bankruptcy Page 42 of 44                              page 11
Debtor          1933 Brewing Company LLC, A New Mexico Limited Liability Company                           Case number (if known)
                Name


          Name and address of recipient                                       Amount of money or             Dates                  Reason for providing
                                                                              description and value of                              the value
                                                                              property

 30.1.   Renteria, Ricardo                                                                    $27,740.00    07/01/2019 to         Wages/Salary
         Name                                                                                               07/20/2020
         5912 Rio Arriba Rd NE
         Street



         Rio Rancho, NM 87144
         City                                     State        ZIP Code


          Relationship to debtor

         Managing Member

          Name and address of recipient                                       Amount of money or             Dates                  Reason for providing
                                                                              description and value of                              the value
                                                                              property

 30.2.   Crespo, Chandrika Patricia                                                           $19,282.38    7/1/2019 to           Wages/Salary
         Name                                                                                               7/20/2020
         7897 Enchanted Range Dr
         Street



         El Paso, TX 79911-7514
         City                                     State        ZIP Code


          Relationship to debtor

         Managing Member

 31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?
     ✔ No
     ❑
     ❑Yes. Identify below.
           Name of the parent corporation                                                       Employer Identification number of the parent corporation

                                                                                                EIN:         –




 32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?
     ✔ No
     ❑
     ❑Yes. Identify below.
           Name of the pension fund                                                             Employer Identification number of the pension fund

                                                                                                EIN:         –

 Part 14: Signature and Declaration




Official Form 207Case       20-11483-t7          DocStatement
                                                      1 Filed      07/24/20
                                                              of Financial Affairs forEntered    07/24/20
                                                                                      Non-Individuals Filing for 12:42:35
                                                                                                                 Bankruptcy Page 43 of 44                  page 12
   7/24/2020




Case 20-11483-t7   Doc 1   Filed 07/24/20   Entered 07/24/20 12:42:35 Page 44 of 44
